Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 1 of 17




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   EXHIBIT 2
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                            Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 2 of 17
STATE OF CALIFORNIA
AUTHENTICATED
ELECTRONIC LEGAL MATERIAL




                                         Assembly Bill No. 998

                                             CHAPTER 343

        An act to amend Section 48a of the Civil Code, relating to libel.

                             [Approved by Governor September 28, 2015. Filed with
                                    Secretary of State September 28, 2015.]

                                      legislative counsel’s digest
      AB 998, Wagner. Civil law: libel: damages.
      Under existing law, in any action for damages for the publication of a
   libel in a newspaper or of a slander by a radio broadcast, the plaintiff is
   required to recover no more than special damages unless a correction is
   demanded and the correction is not published or broadcast. If a correction
   is demanded and the correction is not published or broadcast in a specified
   manner in the newspaper or on the broadcasting station, existing law
   authorizes the plaintiff to recover general, special, and exemplary damages
   provided certain requirements are met.
      The bill would revise these provisions relating to libel to provide that the
   publication of a libel be in a daily or weekly news publication, as defined.
   This bill would also make legislative findings regarding libel.

      The people of the State of California do enact as follows:

      SECTION 1. It is the intent of the Legislature to ensure that weekly and
   online publications are afforded the same protection under Section 48a of
   the Civil Code as is afforded to a daily newspaper to the extent that the
   weekly and online publications perform the same news-disseminating
   function as a daily newspaper. The Legislature finds and declares that the
   rulings in Burnett v. National Enquirer, Inc. (1983) 144 Cal.App.3d 991
   and Condit v. National Enquirer, Inc. (2002) 248 F.Supp.2d 945 do not fully
   recognize that the policy of Section 48a of the Civil Code to protect
   enterprises engaged in the immediate dissemination of news on matters of
   public concern, insofar as time constraints do not reasonably permit such
   enterprises to check sources for accuracy and stories for inadvertent errors,
   should extend to online publications and weekly newspapers, which publish
   breaking news on deadlines indistinguishable from daily newspapers. It is
   not the intent of the Legislature that Section 48a of the Civil Code should
   apply to periodicals that publish at longer than weekly intervals, nor is it
   the intent of the Legislature that Section 48a of the Civil Code should apply
   to casual postings on a social networking Internet Web site, chat room,
   electronic bulletin board, discussion group, online forum, or other related
   Internet Web site.



                                                                                    95
            Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 3 of 17

Ch. 343                             —2—

   SEC. 2. Section 48a of the Civil Code is amended to read:
   48a. 1. In any action for damages for the publication of a libel in a daily
or weekly news publication, or of a slander by radio broadcast, plaintiff
shall recover no more than special damages unless a correction be demanded
and be not published or broadcast, as hereinafter provided. Plaintiff shall
serve upon the publisher, at the place of publication or broadcaster at the
place of broadcast, a written notice specifying the statements claimed to be
libelous and demanding that the same be corrected. Said notice and demand
must be served within 20 days after knowledge of the publication or
broadcast of the statements claimed to be libelous.
   2. If a correction be demanded within said period and be not published
or broadcast in substantially as conspicuous a manner in said daily or weekly
news publication, or on said broadcasting station as were the statements
claimed to be libelous, in a regular issue thereof published or broadcast
within three weeks after such service, plaintiff, if he pleads and proves such
notice, demand and failure to correct, and if his cause of action be
maintained, may recover general, special and exemplary damages; provided
that no exemplary damages may be recovered unless the plaintiff shall prove
that defendant made the publication or broadcast with actual malice and
then only in the discretion of the court or jury, and actual malice shall not
be inferred or presumed from the publication or broadcast.
   3. A correction published or broadcast in substantially as conspicuous a
manner in said daily or weekly news publication, or on said broadcasting
station as the statements claimed in the complaint to be libelous, prior to
receipt of a demand therefor, shall be of the same force and effect as though
such correction had been published or broadcast within three weeks after a
demand therefor.
   4. As used herein, the terms “general damages,” “special damages,”
“exemplary damages” and “actual malice,” are defined as follows:
   (a) “General damages” are damages for loss of reputation, shame,
mortification and hurt feelings.
   (b) “Special damages” are all damages which plaintiff alleges and proves
that he has suffered in respect to his property, business, trade, profession
or occupation, including such amounts of money as the plaintiff alleges and
proves he has expended as a result of the alleged libel, and no other.
   (c) “Exemplary damages” are damages which may in the discretion of
the court or jury be recovered in addition to general and special damages
for the sake of example and by way of punishing a defendant who has made
the publication or broadcast with actual malice.
   (d) “Actual malice” is that state of mind arising from hatred or ill will
toward the plaintiff; provided, however, that such a state of mind occasioned
by a good faith belief on the part of the defendant in the truth of the libelous
publication or broadcast at the time it is published or broadcast shall not
constitute actual malice.




                                                                             95
           Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 4 of 17

                                  —3—                              Ch. 343

  5. For purposes of this section, a “daily or weekly news publication”
means a publication, either in print or electronic form, that contains news
on matters of public concern and that publishes at least once a week.




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1/26/22, 3:10 PM        Case 5:21-cv-07385-VKD Document 50-8Bill History
                                                                 Filed 01/31/22 Page 5 of 17




   Home         Bill Information          California Law          Publications          Other Resources           My Subscriptions      My Favorites



                                                        AB-998 Civil law: libel: damages.               (2015-2016)




             Date       Action

             09/28/15   Chaptered by Secretary of State - Chapter 343, Statutes of 2015.

             09/28/15   Approved by the Governor.

             09/10/15   Enrolled and presented to the Governor at 4 p.m.

             09/01/15   Senate amendments concurred in. To Engrossing and Enrolling. (Ayes 79. Noes 0. Page 2748.).

             09/01/15   Assembly Rule 77 suspended. (Page 2729.)

             08/31/15   In Assembly. Concurrence in Senate amendments pending. May be considered on or after September 2 pursuant to Assembly Rule 77.

             08/31/15   Read third time. Passed. Ordered to the Assembly. (Ayes 40. Noes 0. Page 2310.).

             08/26/15   Ordered to special consent calendar.

             07/16/15   Read second time. Ordered to third reading.

             07/15/15   From committee: Do pass. (Ayes 6. Noes 0.) (July 14).

             07/07/15   In committee: Set, first hearing. Hearing canceled at the request of author.

             06/25/15   From committee chair, with author's amendments: Amend, and re-refer to committee. Read second time, amended, and re-referred to
                        Com. on JUD.

             06/11/15   Referred to Com. on JUD.

             05/28/15   In Senate. Read first time. To Com. on RLS. for assignment.

             05/28/15   Read third time. Passed. Ordered to the Senate. (Ayes 76. Noes 0. Page 1619.)

             04/14/15   Read second time. Ordered to third reading.

             04/13/15   Read second time and amended. Ordered returned to second reading.

             04/09/15   From committee: Amend, and do pass as amended. (Ayes 10. Noes 0.) (April 7).

             03/16/15   Referred to Com. on JUD.

             02/27/15   From printer. May be heard in committee March 29.

             02/26/15   Read first time. To print.




https://leginfo.legislature.ca.gov/faces/billHistoryClient.xhtml?bill_id=201520160AB998                                                                   1/1
       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 6 of 17


                         SENATE JUDICIARY COMMITTEE
                         Senator Hannah-Beth Jackson, Chair
                             2015-2016 Regular Session


AB 998 (Wagner)
Version: June 25, 2015
Hearing Date: July 7, 2015
Fiscal: No
Urgency: No
RD


                                        SUBJECT

                                Civil law: libel: damages

                                     DESCRIPTION

Existing law limits damages for libel and slander when a newspaper or radio broadcast
issues a retraction. This bill would expand this “correction statute” by applying it to
daily or weekly news publications, as defined. This bill also includes specified
legislative findings.

                                    BACKGROUND

Defamation is generally the communication of a false statement to someone other than
the person defamed that harms the reputation of that person. Libel is a term that refers
to a written defamation; rather, a published false statement that is injurious to a
person’s reputation. Inherently, there is a challenge in the area of defamation law to
balance the need to protect reputation with the desire to safeguard expression.
(Chemerinsky, Constitutional Law Principles and Policies (2011) 4th Edition, p. 1078.)
At common law, it was conclusively presumed that general damages resulted from the
publication of libel. “The practical result is that the jury may award not only nominal
damages, but substantial sums in compensation of the supposed harm to the plaintiff’s
reputation, without any proof that it has in fact occurred.” (Werner v. Southern California
Associated Newspapers (1950) 35 Cal.2d 121, 126 citing Prosser, Torts, Sec. 92, p. 797.)

In enacting Section 48a of the Civil Code, the California Legislature made the public
policy determination to allow for the limitation of general damages for libel where a
specified retraction is published, in order to encourage a more active press by insulating
newspapers from liability arising from erroneous published statements. Originally
enacted in 1931 to limit the liability of newspapers, when the publication was made
without malice through misinformation and mistake, and a retraction was demanded
and published, the section has only been amended once since, in 1945, into its current
form which provides that in any action for damages for the publication of a libel in a
       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 7 of 17

AB 998 (Wagner)
Page 2 of 7

newspaper, or of a slander by radio (including both visual and sounds radio) broadcast,
the plaintiff may recover no more than special damages unless a correction is
demanded and is not published or broadcast, as provided. (See 6A Ca Jur Assault and
Other Wilful Torts Sec. 230.) In other words, publishers have an opportunity to correct
errors before being liable for defamation. As stated by the California Supreme Court in
Werner v. Southern California Associated Newspapers (1950) 35 Cal.2d 121, 128: “In view of
the complex and far-flung activities of the news services upon which newspapers and
radio stations must largely rely and the necessity of publishing news while it is new,
newspapers and radio stations may in good faith publicize items that are untrue but
whose falsity they have neither the time nor the opportunity to ascertain.”

This bill would amend Section 48a to replace reference to “newspapers” with “daily or
weekly publications” thereby expanding the opportunity to limit defamation damages
for libelous statements through the issuance of retractions to other modern day
mediums of news dissemination, such as online publications.

                            CHANGES TO EXISTING LAW

Existing law, article I, Section 2 of the California Constitution, provides that every
person may freely speak, write and publish his or her sentiments on all subjects, being
responsible for the abuse of this right. A law may not restrain or abridge liberty of
speech or press. (Cal. Const., art. I, Sec. 2(a).)

Existing law provides that, besides the personal rights mentioned or recognized in the
Government Code, every person has, subject to the qualifications and restrictions
provided by law, the right of protection from bodily restraint or harm, from personal
insult, from defamation, and from injury to his personal relations. (Civ. Code Sec. 43.)
Existing law provides that defamation is effected by either of the following: (1) libel; or
(2) slander. (Civ. Code Sec. 44.)

Existing law defines “libel” as a false and unprivileged publication by writing, printing,
picture, effigy, or other fixed representation to the eye, which exposes any person to
hatred, contempt, ridicule, or obloquy, or which causes him to be shunned or avoided,
or which has a tendency to injure him in his occupation. (Civ. Code Sec. 45.)

Existing law further specifies that a libel which is defamatory of the plaintiff without
the necessity of explanatory matter, such as an inducement, innuendo or other extrinsic
fact, is “a libel on its face.” Existing law provides that defamatory language that is not
libelous on its face is not actionable unless the plaintiff alleges and proves that he has
suffered special damage as a proximate result thereof, as specified. (Civ. Code Sec. 45a.)

Existing law defines “slander” as a false and unprivileged publication, orally uttered,
and also communications by radio or any mechanical or other means which:
       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 8 of 17

AB 998 (Wagner)
Page 3 of 7

   charges any person with a crime, or with having been indicted, convicted, or
   punished for crime;
   imputes in him the present existence of an infectious, contagious, or loathsome
   disease;
   tends directly to injure him in respect to his office, profession, trade or business,
   either by imputing to him general disqualification in those respects which the office
   or other occupation peculiarly requires, or by imputing something with reference to
   his office, profession, trade, or business that has a natural tendency to lessen its
   profits;
   imputes to him impotence or a want of chastity; or
   which, by natural consequence, causes actual damage. (Civ. Code Sec. 46.)

Existing law provides that in any action for damages for the publication of a libel in a
newspaper, or of a slander by radio broadcast, a plaintiff can recover no more than
special damages unless a correction is demanded and not published or broadcast, as
specified. Existing law requires that the plaintiff serve, within 20 days after knowledge
of the publication or broadcast of the libelous statements, a written notice upon the
publisher or broadcaster, at the place of publication or broadcast, specifying the
statements claimed to be libelous and demanding that they be corrected. (Civ. Code
Sec. 48a(1).)

Existing law provides that if a correction is demanded, as specified above, and not
published or broadcast in substantially as conspicuous a manner in the newspaper or
on the broadcasting station as the libelous statements were made, in a regular issue
thereof published or broadcast within three weeks after service of the notice, the
plaintiff can seek recovery of general, special, and exemplary damages, as specified,
except that no exemplary damages can be recovered unless the plaintiff proves that the
defendant made the publication or broadcast with actual malice (which cannot be
inferred or presumed from the publication or broadcast) and only then in the discretion
of the court or jury. (Civ. Code Sec. 48a(2); see Civ. Code Sec. 48a(4) for definitions of
“general,” “special” and “exemplary” damages, as well as “actual malice.”)

Existing law requires that any correction published or broadcast in substantially as
conspicuous a manner in the newspaper or on the broadcasting station as the libelous
statements, prior to receipt of a demand for correction, be of the same force and effect as
though the correction had been published or broadcast within three weeks after a
correction demand. (Civ. Code Sec. 48a(3).)

This bill would replace references to “newspaper” with “daily or weekly news
publication,” as defined to mean a publication, either in print or electronic form, that
contains news on matters of public concern and that publishes at least once a week.

This bill would state the intent of the Legislature to ensure that weekly and online
publications are afforded the same protection under Section 48a as is afforded to a daily
       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 9 of 17

AB 998 (Wagner)
Page 4 of 7

newspaper to the extent that the weekly and online publications perform the same
news-disseminating function as a daily newspaper. The bill would further state that the
Legislature finds and declares that the rulings in Burnett v. National Enquirer, Inc. (1983)
144 Cal.App.3d 991 and Condit v. National Enquirer, Inc. (2002) 248 F.Supp.2d 945 do not
fully recognize that the policy of Section 48a to protect enterprises engaged in the
immediate dissemination of news on matters of public concern, insofar as time
constraints do not reasonably permit such enterprises to check sources for accuracy and
stories for inadvertent errors, should extend to online publications and weekly
newspapers, which publish breaking news on deadlines indistinguishable from daily
newspapers. Lastly, the bill would specify that it is not the intent of the Legislature that
Section 48a should apply to periodicals that publish at longer than weekly intervals, nor
is it the intent of the Legislature that Section 48a should apply to casual postings on a
social networking Internet Web site, chat room, electronic bulletin board, discussion
group, online forum, or other related Internet Web site.

                                       COMMENT

1. Stated need for the bill

According to the author, “California’s Libel Retraction Statute requires that libel victims
ask the publisher to correct or retract the libelous statement (and be denied) before the
victim can sue for punitive damages. The current statute only applies to ‘libel in a
newspaper, or [… ] slander by radio broadcast.’ As a result, online publications
identical to print ones are being sued directly without being asked for retraction and
comment. This bill updates the California statute to include online publications to
ensure that the law is applied fairly across all publications.”

2. Bill would expand the protections of the retraction statute

Section 48a of the Civil Code, California’s “correction statute,” provides an opportunity
for “newspapers” and “radio broadcasters” (including both visual and sound radio
broadcasters) to correct or retract a libelous or slanderous statement in order to limit the
damages that could be recovered in a defamation action. Under this statute, a plaintiff is
limited to recovery of special damages, unless he or she demands a correction and is
refused by the defendant. “Special damages” are defined as “all damages which
plaintiff alleges and proves that he has suffered in respect to his property, business,
trade, profession or occupation, including such amounts of money as the plaintiff
alleges and proves he has expended as a result of the alleged libel, and no other.” If the
correction is demanded and refused, the plaintiff can seek recovery of general damages
(i.e. damages for loss of reputation, shame, mortification, and hurt feelings) and, where
appropriate, exemplary, or punitive, damages (i.e. damages which may in the discretion
of the court or jury be recovered in addition to general or special damages for the sake
of example and by way of punishing a defendant who has made a publication with
actual malice). This bill seeks to expand the protections of the correction statute to daily
      Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 10 of 17

AB 998 (Wagner)
Page 5 of 7

or weekly publications, which the bill would define to mean “a publication, either in
print or electronic form, that contains news on matters of public concern and that
publishes at least once a week.” As a practical matter, this would include not just
traditional newspapers, but presumably would include online news outlets such as
Huffington Post, CNN, Fox, MSNBC, online versions of newspapers, and others. It
would also potentially capture weekly magazines, such as National Enquirer, that were
previously excluded from the protection of the correction statute.

Under current law, “[t]he essential question” for whether or not the correction applies
to a particular type of print or written medium “is not whether a publication is properly
denominated a magazine or by some other designation, but whether it ought to be
characterized as a newspaper within contemplation of the statute, a question which
must be answered in terms which justify an expanded barrier against damages for libel
only in those instances in which the constraints of time, as a function of the
requirements associated with production of the publication, dictate such results.” (6A
Cal. Jur. Assault and Other Wilful Torts Sec. 232, citing Burnett v. National Enquirer, Inc.
(1983) 144 Cal.App.3d 991.) In Burnett v. National Enquirer, Inc., the Court of Appeal
considered the question of whether a weekly publication that published slanderous
statements about a famous personality was excluded from the protection afforded to
“newspapers” under the correction statute. There, the court upheld the trial court’s
conclusion that the defendant publication was not a “newspaper” for purposes of the
correction statute, based on the reasoning that the statute is limited to those who engage
in the immediate dissemination of news. In contrast, the evidence indicated that the
publication in question, the National Enquirer, provided little to no coverage of subjects
such as politics, sports, or crime; that in general it did not make reference to time; and
that the normal ‘lead time’ for its subject matter was one to three weeks” as opposed to
“day to day” like a newspaper. (144 Cal.App.3d at 1000.) Accordingly, citing dicta in
the California Supreme Court decision in Werner v. Southern California Associated
Newspapers (1950) 35 Cal.2d 121 regarding the purpose of the statute, which “hing[es]
on the inability of newspapers to verify information while optimally disseminating
news,” the court determined that the National Enquirer should not be characterized as a
“newspaper.” (Id. at 1001.)

Other courts have similarly refused to extend the protection of the correction statute to
weekly publications, under the theory that longer “lead times” allow for an opportunity
to uncover the truthfulness of a statement and that the legislative policy of Section 48a
is limited to publications which engage in the immediate dissemination of news, where
one cannot always check their sources for accuracy and their stories for inadvertent
publication errors. For example, in Condit v. National Enquirer (2002) 248 F.Supp.2d 945,
a case involving a libel action brought by a former congressman’s wife against the
National Enquirer, the federal district court noted that a news publication subject to the
correction statute, Section 48a, “must function under such time constraints in its mode
of operation that prevent accuracy checks or make it impractical to avoid inadvertent
publication errors.” (Id. at 955.) Using the factors employed in the Burnett case, the
      Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 11 of 17

AB 998 (Wagner)
Page 6 of 7

court concluded that the Enquirer’s overall content established that its primary focus
was not “‘the very free and rapid dissemination of news (Section 48a) seeks to
encourage.’” (Id. at 958-959, citing Field Research Corp. v. Superior Court (1969) 71 Cal.2d
110, 115 (emphasis added in Condit).) The court was unpersuaded by the fact that the
Enquirer occasionally published significant breaking news, ultimately concluding that
the Enquirer did not qualify as a newspaper under Section 48a, because the record did
not establish that the Enquirer was under pressure to publish news as it happened, or
“under circumstances where it cannot confirm the accuracy and reliability of its
information and sources. Rather the Enquirer appears to ‘have the advantage of greater
leisure in which to ascertain the truth of allegations before publishing them.’ [Citation
omitted.]” (Id. at 959, 963.)

That being said, it does not appear that any case, including Werner or Field Research,
relied upon in Burnett and Condit, has “squarely addressed the question of whether only
those media which cover news events are within the purview of section 48a. [. . .
Werner] did not affirmatively conclude what the Legislature’s purpose was in enacting
the statute; only that the Legislature ‘could’ have had a reasonable basis for classifying
newspapers and radio stations apart from others.” (Kalpoe v. Superior Court, 222
Cal.App.4th 206, 215.) Indeed, in upholding the constitutionality of correction statute
under equal protection and due process grounds, Werner merely acknowledged that
“[t]he Legislature may reasonably conclude that the public interest in the dissemination
of news outweighs the possible injury to a plaintiff from the publication of a libel, and
may properly encourage and protect news dissemination by relieving newspapers and
radio stations from all but special damages resulting from defamation, upon the
publication of a retraction.” (Werner, 35 Cal.2d at 128.) This bill appears to now
represent a public policy decision to further limit the remedies available to an injured
party in order to expand the First Amendment protections for certain publishers who
issue retractions of potentially slanderous statements under the correction statute, even
where the publisher arguably had longer periods to verify the statements in the case of
weekly publications.

Significantly, the bill would specify in its legislative findings that the rulings in Burnett
and Condit do not fully recognize that the policy of Section 48a to protect enterprises
engaged in the immediate dissemination of news on matters of public concern, insofar
as time constraints do not reasonably permit such enterprises to check sources for
accuracy and stories for inadvertent errors, should extend to online publications and
weekly newspapers, which publish breaking news on deadlines indistinguishable from
daily newspapers. At the same time, the bill’s legislative findings would specify that it
is not the intent of the Legislature that Section 48a should apply to periodicals that
publish at longer than weekly intervals, or to casual postings on a social networking
Internet Web site, chat room, electronic bulletin board, discussion group, online forum,
or other related Internet Web site.
      Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 12 of 17

AB 998 (Wagner)
Page 7 of 7

Support: None Known

Opposition: None Known

                                        HISTORY

Source: Author

Related Pending Legislation: None Known

Prior Legislation: AB 2368 (Wagner, 2014) would have expanded these libel provisions
to additionally include libel in a periodical or other medium, either in print or electronic
form. That bill died in the Assembly Judiciary Committee without a hearing.

Prior Vote:
Assembly Floor (Ayes 76, Noes 0)
Assembly Judiciary Committee (Ayes 10, Noes 0)

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       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 13 of 17

                                                                                           AB 998
                                                                                           Page 1

Date of Hearing: April 7, 2015

                         ASSEMBLY COMMITTEE ON JUDICIARY
                                     Mark Stone, Chair
                      AB 998 (Wagner) – As Introduced February 26, 2015

                                   As Proposed to be Amended

SUBJECT: CIVIL LAW: LIBEL: DAMAGES

KEY ISSUE: SHOULD EXISTING RULES LIMITING DEFAMATION DAMAGES WHEN
A NEWSPAPER OR RADIO STATION ISSUES A RETRACTION ALSO APPLY TO
DEFAMATORY STATEMENTS PUBLISHED IN AN ONLINE PUBLICATION THAT
PUBLISHES NEWS ON MATTERS OF PUBLIC CONCERN AT LEAST FIVE DAYS PER
WEEK?

                                           SYNOPSIS

Under existing law, in any action alleging defamation in a newspaper or radio broadcast, the
plaintiff is limited to "special damages," unless the newspaper or radio station refuses a demand
to publish or broadcast a correction. This bill would extend this damage limit to cases involving
magazines and periodicals, whether in electronic or print form. While courts have extended
First Amendment protections and certain statutes to online publications, a 2014 California
appellate court expressly declined the opportunity to extend California's retraction statute to
online publications. This bill would expand the retraction statute's reach to any daily news
publication, as defined, whether published in print or online. The bill, as proposed to be
amended, is consistent with the underlying purpose of the retraction statute: to protect those
engaged in the "immediate dissemination of news," because such enterprises cannot, as a
practical matter, verify every claim or allegation and still meet daily publication deadlines.
Reflecting this underlying purpose, the courts have refused to extend the retraction statute to
weekly publications, whether in print or electronic form, because those publications have time to
verify their statements before going to press. However, an appellate court recently refused to
extend the retraction statute to an online news publication – even one that publishes news on a
daily basis – because the express language of the statute is restricted to "newspapers" and
"radio broadcasts." The bill would amend that language so as to make it clear the statute
applies to online publications, so long as they publish news on matters of public concern at least
five days a week.

SUMMARY: Extends a statutory damage limitation rule that applies to cases involving libel in
a newspaper or slander in a radio or television broadcast to a daily news publication, as defined.
Specifically, this bill:

1) Provides that in any action for damages for publication of a libel in a daily news publication,
   the plaintiff shall recover no more than special damages, as defined, unless the plaintiff
   demands a correction and the publisher refuses the demand.

2) Defines "daily news publication" to mean a publication, either in print or electronic form,
   that contains news on matters of public concern and that publishes at least five days a week.
       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 14 of 17

                                                                                               AB 998
                                                                                               Page 2

EXISTING LAW:

1) Provides that in any action for damages for publication of libel in a newspaper or slander by
   a radio (or television) broadcast, the plaintiff is limited to recovery of special damages, as
   defined, unless a correction is demanded and the correction is not published or broadcast. If
   a correction is requested and the defendant refuses to publish or broadcast a correction, then
   the plaintiff may recover general, special, and exemplary damages, as specified. (Civil Code
   Sections 48a, 48.5. All further statutory references are to the Civil Code, unless otherwise
   indicated.)

2) Defines, for purposes of defamation actions, the following categories of damages:

   a) "General damages" are damages for loss of reputation, shame, mortification and hurt
      feelings.

   b) "Special damages" are all damages which the plaintiff alleges and proves that he [sic] has
      suffered in respect to his property, business, trade, profession or occupation, including
      such amounts of money as the plaintiff alleges and proves he has expended as a result of
      the alleged libel, and no other.

   c) "Exemplary damages" are damages which may in the discretion of the court or jury be
      recovered in addition to general and special damages for the sake of example and by way
      of punishing a defendant who has made the publication or broadcast with actual malice.
      (Section 48a.)

FISCAL EFFECT: As currently in print this bill is keyed non-fiscal.

COMMENTS: Under the traditional common law, defamation was a strict liability tort,
meaning that a plaintiff could usually recover without showing fault on the part of the defendant.
In addition, damages for reputational harm were presumed and thus did not need to be proved. A
plaintiff recovered merely by showing (1) a defamatory statement (2) about the plaintiff (3) that
is published. A defamatory statement is a factual assertion (not an opinion, obvious joke or
figurative exaggeration) that tends to harm a person's reputation by holding that person up to
scorn, ridicule, or contempt. A defamatory statement is deemed "published" if it reaches one
person other than the plaintiff. Although the common law traditionally distinguished between
libel (written defamatory statements) and slander (oral defamatory statements), the advent of
radio and other recording technologies diminished the original rationale for that distinction and
most jurisdictions, including California, combine libel and slander under the single tort of
defamation for most purposes. (Section 44.)

Under the traditional common law, truth was a defense. However, under the influence of modern
constitutional law, falsity is more often considered an element of the tort. At first glance whether
truth is a defense, or whether falsity is a required element, may not seem terribly significant. In
either case, after all, the statement must be false in order for the plaintiff to recover. The critical
difference, however, goes to the burden of proof. If falsity is an element of the offense, then the
plaintiff bears the burden of showing that the statement is false. But if truth is a defense, on the
other hand, the burden shifts to the defendant to show that the statement is true. The U.S.
Supreme Court has held that when the defamatory statement involves a public figure or a matter
of public concern it implicates the First Amendment, and as such the burden should be on the
       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 15 of 17

                                                                                              AB 998
                                                                                              Page 3

plaintiff to prove falsity as part of his or her prima facie case. (Philadelphia Newspapers, Inc. v.
Hepps (1986) 475 U.S. 767.)

Damages and Defamation Law. In most defamation cases, as previously noted, a plaintiff's
damages are presumed and the plaintiff may recover without providing any proof beyond the
defamatory nature of the statement. However, in some situations, courts and legislatures have
created exceptions to this rule and require a plaintiff to show "special damages." For example,
some early courts held that libel (because it could last forever) warranted general or presumed
damages, whereas slander (which ceased to exist once it was uttered) might require the plaintiff
to show "special damages." Some courts hold that a statement that is defamatory "on its face"
permits general damages, but a statement that is facially neutral and only defamatory in context
requires the plaintiff to prove special damages. California has codified this latter rule, requiring
a plaintiff to prove special damages where defamatory language is "not libelous on its face."
(Section 45a.) As a general rule, "special damages" require the plaintiff to show some specific,
usually pecuniary, harm, whereas "general damages" (loss of reputation, shame, etc.) are
presumed by virtue of the publication of a false and defamatory statement.

California law also requires a plaintiff to plead and prove special damages in some cases if the
defendant publishes a retraction of the defamatory statement. Specifically, California's so-called
"retraction statute" (Section 48a) – which this bill seeks to amend – limits a plaintiff's recovery to
special damages for "libel in a newspaper, or of a slander by radio broadcast," unless a retraction
is demanded by the plaintiff and refused by the defendant. Only if the plaintiff requests a
retraction and the defendant refuses is the plaintiff entitled to general damages and, where
appropriate, exemplary (or punitive) damages. The statute defines "special damages" as "all
damages which plaintiff alleges and proves that he [sic.] has suffered in respect to his property,
business, trade, profession or occupation, including such amounts of money as the plaintiff
alleges and proves he has expended as a result of the alleged libel, and no other." Although the
statute still only expressly mentions a newspaper and radio broadcast, an adjacent statute
amended the definition of "broadcast" to include "both visual and sound radio broadcasting,"
effectively extending the statute's application to television broadcasts. (Section 48.5.)

The Purpose of the Retraction Statute. California's retraction statute reflects, at least in part, the
value traditionally placed on freedom of the press in a democracy and the unique role that
newspapers (and later radio and television) have played in the dissemination of news on matters
of public concern. In upholding the retraction statute against a constitutional due process
challenge, the California Supreme Court held that "the Legislature may reasonably conclude that
public interest in the dissemination of news outweighs potential injury to a plaintiff from the
publication of a libel, and [the Legislature] may properly encourage and protect news
dissemination by relieving newspapers and radio stations from all but special damages resulting
from defamation, upon the publication of a retraction." (Werner v. Southern California
Associated Newspapers (1950) 35 Cal. 2d 121, 128.) More recent cases have opined that the
statute was intended to protect, in particular, enterprises engaged "in the immediate
dissemination of news [because such enterprises] cannot always check their sources for accuracy
and their stories for inadvertent publication errors." Because short "lead times" (the time
between initial assignment and submission deadline) justified the retraction rule, the courts have
refused to apply the retraction statute to weekly magazines and periodicals, because those
publications had time to verify the truthfulness of statements before publishing them. (Condit v.
National Enquirer (2002) 248 F. Supp. 2d 945, 955, citing Burnett v. National Enquirer (1983).)
       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 16 of 17

                                                                                             AB 998
                                                                                             Page 4

Extending Laws Affecting Print Media to Online Media. It is instructive to compare
California's retraction statute to the reporter's shield law (Cal. Const. Article I Section 2 (b);
Evidence Code Section 1070). The reporter's shield law – similarly rooted in free press concerns
– exempts journalists from contempt of court charges when they refuse to reveal their sources.
This policy reflects the belief that, in order for the press to continue gathering news of public
importance, journalists must sometimes promise to keep the identity of informants confidential.
Most important for purposes of this analysis, the shield law applies to information that appears in
a "newspaper, periodical, or other medium." (Evidence Code Section 1070; emphasis added.)
By contrast, the retraction statute more narrowly applies to "libel in a newspaper" or "slander by
a radio [or television] broadcast." (Civil Code Section 48a and 48.5.) In O'Grady v. Superior
Court (2006) 139 Cal. App. 4th 1423, the court held that the reporters' shield law applied to
online publications because they were "other medium" that served the same function as a printed
newspaper or periodical. Notably, the O'Grady court warned that its decision did not apply to
everything posted online, pointing out that the shield law would not necessarily protect any
"information, opinion, or fabrication" posted by "a casual visitor" to a chatroom or bulletin
board. The court considered but expressly refused to say whether the shield law applied to
bloggers because of the "rapidly evolving" and "amorphous meaning" of the word "blog." In
short, one could say that, with the reporters' shield law, the courts have looked to the function of
the publication rather the medium in determining whether the reporter or publisher is protected
by the shield law.

More recently a California appellate court, in an unpublished opinion, had the opportunity to
extend the retraction statute to online publications, but unlike O'Grady, it declined to do so. The
court noted that, unlike the shield law considered in O'Grady, which applied to any "newspaper,
periodical, or other medium," the retraction statute narrowly and quite expressly applied to
newspapers and radio broadcasts (and later television.) The court concluded that if "the
Legislature intended the statute to apply to defamatory material published on an online website,
it could have amended the statute to say so, or add a statute to include such websites within the
definition of 'newspaper,' as it did when it enacted Civil Code Section 48.5 in 1949 to expand the
term 'radio broadcast' to include both visual and sound recording." (Thieriot v. The Wrapnews,
Inc., 2014 Cal. App. Unpub. LEXIS 2690.)

This bill follows the lead of the Thieriot opinion and seeks to do for the retraction statute what
the O'Grady decision did for the reporters' shield law: extend its protections to online
publications, so long as they are engaged in the daily – or near daily – dissemination of news on
matters of public concern. The author's background material suggests that the primary purpose
of this bill is to update the law by recognizing that Californians, like most other people around
the world, are as likely to get their news from the Internet as they are from print newspapers,
radio, or television. As such, if our policy preference is that the media, as essential providers of
the news, deserve protection in the form of damage limitations, then there is no logical reason to
deny the same protections to enterprises that provide the same important function, albeit online.

The bill appropriately limits the protection of the retraction statute to a "daily news publication,"
which in turn is defined as a publication, either in print or electronic form, that "contains news on
matters of public concern and that publishes at least five days per week." As noted above, the
courts have consistently held that the legislative intent of the retraction statute was to protect
those enterprises engaged in the "immediate dissemination of news," and they have expressly
refused to extend the statute to weekly or monthly publications. The policy rationale for this
restriction, as noted, is that a publication should verify factual allegations before publishing,
       Case 5:21-cv-07385-VKD Document 50-8 Filed 01/31/22 Page 17 of 17

                                                                                              AB 998
                                                                                              Page 5

unless they operate under deadline pressures that make verifying every fact and correcting every
inadvertent error impractical. Even then, daily newspapers and broadcasters are not absolved of
liability; rather, the amount of damages that the publication owes will be limited if, and only if, it
honors a retraction request. This bill, fully consistent with the reasoning of the courts, will
expressly state that a covered daily news publication includes both print and electronic
publications, and it usefully replaces the outdated term "newspaper" (which, read literally,
suggest only print or "paper" publications) with the more apt "daily news publication."

Proposed Author Amendments. In order to better clarify that the purpose of this bill is extend
the retraction statute to online news publications, without also extending the statute to cover
publications not engaged in the daily (or near daily) dissemination of news, whether in print or
online, the author will take the following amendments in this Committee:

   -   On page 1 line 3, on page 2 line 10, and on page 2 line 23-24, delete "newspaper,
       magazine, or other periodical publication, either in print or electronic form" and insert:
       daily news publication

   -   On page 3 after line 9 insert (and re-number accordingly):

   For purposes of this section, a “daily news publication” means a publication, either in print
   or electronic form, that contains news on matters of public concern and that publishes at
   least five days a week.

   -   On page 1 line 1 create a new SECTION 1 which reads as follows (and re-number
       accordingly):

   It is the intent of the Legislature to ensure that online publications are afforded the same
   protection under Section 48a of the Civil Code as is afforded to a printed newspaper to the
   extent that the online publication performs the same news-disseminating function as a
   printed newspaper. The Legislature finds and declares that the rulings in Burnett v. National
   Enquirer (1983) 144 Cal. App. 3d 991 and Condit v. National Enquirer (2002) 248 F. Supp.
   2d 245 correctly state that the purpose of Section 48a of the Civil Code is to protect
   enterprises engaged in the immediate dissemination of news on matters of public concern,
   insofar as time does not reasonably permit such enterprises to check sources for accuracy
   and stories for inadvertent errors. It is not the intent of the Legislature that Section 48a of
   the Civil Code should apply to periodicals that publish at weekly or longer intervals, nor is it
   the intent of the Legislature that Section 48a of the Civil Code should apply to casual
   postings on a social networking website, chatroom, electronic bulletin board, discussion
   group, online forum, or other related website.

REGISTERED SUPPORT / OPPOSITION:
Support
None on file
Opposition
None on file

Analysis Prepared by: Thomas Clark / JUD. / (916) 319-2334
